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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                    MDL NO. 2924
   PRODUCTS LIABILITY                                                             20-MD-2924
   LITIGATION
                                                     JUDGE ROBIN L. ROSENBERG
                                           MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER #4
         Order Appointing Initial Census Team and Practices and Procedures Team

          Upon review of the applications submitted for the Initial Census Team and the Practices

   and Procedures Team, the Court appoints the following attorneys as follows:

                                      Initial Census Team

                                         Tracy Finken
                                       Michael McGlamry
                                          Daniel Nigh
                                         Adam Pulaski

                                Practices and Procedures Team

                                          Robert Gilbert
                                          Roopal Luhana
                                           Mikal Watts
                                           Brent Wisner


          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 24th day of

   February, 2020.


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                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE
